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1    CARL M. FALLER SBN: 70788
     FALLER LAW FIRM
2    Post Office Box 912
     Fresno, CA 93714
3    Phone: 559-679-4999
     carl.faller@fallerdefense.com
4

5    Attorney for Defendant
     SERGIO JARA
6

7
                            IN THE UNITED STATED DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                        ) Case No.: 1:12-cr-00213 AWI
11                                                    )
                    Plaintiff,                        )
12                                                    ) STIPULATION AND ORDER TO ALLOW
            vs.                                       ) SALE OF REAL PROPERTY
13                                                    )
     SERGIO JARA,                                     )
14                                                    )
                    Defendant.                        )
15
            Defendant Sergio Jara is currently on pretrial release in this matter. One of the conditions
16
     of that release is that he not engage in any real estate transactions without the consent of Pretrial
17
     Services. There is a pending property transaction that is set forth in more detail below and
18
     Pretrial Services has indicated that it will have no objection to the transaction if it is approved by
19
     the government. Counsel for the government and counsel for the defendants have reached an
20
     agreement concerning how the sale can be consummated and that agreement is set forth below.
21
            It is hereby stipulated and agreed upon as follows:
22
            There is currently pending at Chicago Title Company the following escrow:
23
             Escrow No.FWKN-5501401595 AB, for the sale of property located at 3927 Mitchell
24
     Street, Bakersfield California.
25
            This escrow transaction may close, and title to the property transferred upon the
26
     following condition: After payment of all expenses of sale and satisfaction of encumbrances,
27
     Fifty Percent (50%) of the net proceeds are to be distributed to the Seller. The remaining Fifty
28
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1    Percent (50%) of the net proceeds shall be deposited with the Clerk of the Court of the United

2    States District Court for the Eastern District of California, 2500 Tulare Street, Fresno, California

3    93721, in a commercial registry account and no amount shall be disbursed therefrom until further

4    order of the court.

5
     Dated: January 16, 2015                                 /s/Carl M. Faller
6
                                                             CARL M. FALLER
7                                                            Attorney for Defendant

8
                                                             BENJAMIN B. WAGNER
9                                                            United States Attorney
10
     Dated: January 16, 2015                           By /s/Kirk Sherriff
11                                                        KIRK SHERRIFF
                                                          Assistant U.S. Attorney
12                                                        Attorney for United States of America

13

14   ORDER:

15          It is hereby ordered that the escrow transaction described in the above stipulation may

16   close and title transferred, upon the following condition: After payment of all expenses of sale

17   and satisfaction of encumbrances, Fifty Percent (50%) of the net proceeds are to be distributed to

18   the Seller, and the remaining Fifty Percent (50%) of the net proceeds shall be deposited with the

19   Clerk of the Court of the United States District Court for the Eastern District of California, 2500

20   Tulare Street, Fresno, California 93721, in a commercial registry account and no amount shall be

21   disbursed therefrom until further order of the court.

22

23   IT IS SO ORDERED.
24   Dated: January 20, 2015
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                                                  SENIOR DISTRICT JUDGE

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